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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND

JOSHUA MELLO

and RACHEL WARE
               Plaintiff,
                                                          C.A. No. 1:23-cv-000479-JJM-LDA;
 vs.                                                          1:23- cv-000480-JJM-LDA

JOHN ROCCHIO and EDWARD ARRUDA
Defendants

   PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTION TO MOTION FOR A
                         PROTECTIVE ORDER

Plaintiffs, Joshua Mello (“Plaintiff Mello”) and Rachel Ware (“Plaintiff Ware”) (collectively,
“Plaintiffs”), hereby submit this response to Defendants, John Rocchio and Edward Arruda’s
(collectively, “Defendants”) objection to Plaintiffs’ Motion for a Protective Order. Plaintiffs
respectfully request this Court to grant the Motion for the following reasons:

Introduction

Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, Plaintiffs, Joshua Mello &
Rachel Ware, hereby move this Court for a protective order regarding the deposition of Joshua
Mello & Rachel Ware, tentatively scheduled for June 25th and 27th. The purpose of this motion
is to set guidelines for the deposition to ensure that the questions asked are fair, relevant, and
non-prejudicial, thereby preventing abusive or improper and unnecessary questioning. The
Plaintiff’s also ask that the deposition is limited in time, done at a neutral location, and a
mediator may be present. These requests are made in light of documented unethical behavior and
retaliatory actions by the Cranston Police Department, the city of Cranston, and their affiliates.
Plaintiffs have faced harassment, including an unwarranted and aggressive roadside raid by the
Violent Fugitive Task Force (VFTF), and involvement of Officer Arruda in evidence collection
related to the alleged charges. which raises serious concerns about the integrity and objectivity of
those alleged charges. Additionally, the presence of Attorney Scott-Benevides during instances
of misconduct further underscores the need for protective measures. Given these circumstances,
the Plaintiffs have demonstrated good cause for this protective order to ensure their rights are
upheld and the deposition process remains just and equitable.

Argument

1. Good Cause for Protective Order under Rule 26(c)
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Under Rule 26(c) of the Federal Rules of Civil Procedure, the Court is authorized to issue a
protective order to protect a party from “annoyance, embarrassment, oppression, or undue
burden or expense.” Plaintiffs have demonstrated “good cause” for such protection through
specific factual assertions.

2. Relevance of Questions and Prevention of Harassment

Defendants argue that Plaintiffs have not provided particular facts establishing good cause.
However, the detailed background provided in Plaintiffs’ motion outlines the potential for
abusive questioning based on the nature of the case and previous interactions with Defendants
and their counsel. In particular, Plaintiffs have faced previous incidents of harassment and
unprofessional conduct that support the need for protective measures.

3. Retaliatory Actions and Safety Concerns: Recent events have underscored the Plaintiffs'
safety concerns and the potential for further harassment and prejudice by any person or company
who is working for or with the Cranston Police department and/or the city of Cranston. Recently,
the Cranston Police Department's aggressive actions, including a roadside raid by the Violent
Fugitive Task Force (VFTF), demonstrate a pattern of retaliatory behavior:

   ● Roadside Raid: Plaintiffs were subjected to an unwarranted and excessive show of force
     by the VFTF. Despite not being violent fugitives or attempting to flee, the raid occurred
     less than three hours after warrants were issued for their arrest. The Plaintiffs were en
     route from the Kent County courthouse to the sheriff's department when this incident
     took place.
   ● Conflict of Interest: Officer Arruda, named in a lawsuit filed by the Plaintiffs,
     participated in collecting social media videos related to the recent arrest. His involvement
     raises significant concerns about the integrity and objectivity of the evidence collected.
     This conflict of interest further erodes the Plaintiffs' trust in the city's legal processes.

4. Attorney Scott-Benevides’ Involvement:

   1. Presence During Misconduct:
         ○ Attorney Scott-Benevides, while representing Mr. Catalano and the city, was
             present during the unethical conduct by Mr. Millea and Mr. Catalano. Her
             presence and continued representation despite these actions call into question her
             own ethical standards and willingness to uphold the rights of the Plaintiff.
   2. Failure to Prevent Ethical Breaches:
         ○ As a legal professional, Attorney Scott-Benevides had a duty to prevent or
             address ethical violations when they occurred. Her failure to do so, particularly in
             the context of a Federal Civil Rights lawsuit, suggests complicity in the
             misconduct and raises concerns about her ability to conduct depositions in a fair
             and impartial manner.
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Given the documented history of unethical conduct and the involvement of Attorney
Scott-Benevides in these proceedings, there is a substantial risk of further misconduct during
depositions. The Plaintiff has a well-founded and documented basis to request a protective order
to ensure that the depositions are conducted in a manner that is fair, relevant, and
non-prejudicial. The presence of guidelines for the deposition process is crucial to prevent any
further undue burden, harassment, or ethical violations.

5. Psychological and Emotional Distress

Plaintiff Mello has suffered severe emotional and psychological distress as a result of the
excessive force incident and assault on a handcuffed prisoner. The recounting of this incident
during depositions without proper safeguards could exacerbate his trauma. This constitutes good
cause for limiting the deposition to 3.5 hours or less and ensuring the questions are relevant and
non-prejudicial. In Jones v. Hirschfeld, 219 F.R.D. 71, 74 (S.D.N.Y. 2003), the court emphasized
the need to prevent depositions from becoming a tool for oppression or abuse, particularly in
cases involving emotional distress.

6. Specificity of Plaintiffs’ Requests

Plaintiffs have set forth specific and particular facts justifying the need for a protective order.
The request to limit deposition time to 3.5 hours or less per deposition is reasonable and aimed at
reducing undue burden, especially considering Plaintiff Mello’s and Ware's emotional distress
and the financial constraints faced by both Plaintiffs.

Courts have recognized that limiting the duration of depositions is a valid protective measure. In
Armstrong v. D.C. Pub. Library, 154 F. Supp. 2d 67, 72 (D.D.C. 2001), the court limited
deposition time to prevent undue burden and harassment, particularly where parties had valid
reasons for such limitations.

7. Protection Against Prejudicial Examination

Plaintiffs seek a protective order to prevent prejudicial and irrelevant questioning during
depositions, given the nature of their claims and pro se status. Recent retaliatory actions by the
Cranston Police Department and ethical breaches by the defense counsel necessitate this
protective order to ensure the integrity of the legal process and the personal safety of the
Plaintiffs.

Ethical Violations by Defense Counsel: During a post-conviction relief (PCR) court date on
December 18, 2023, Mr. Millea and Mr. Catalano attempted to mislead Judge Caruolo, infringing
upon the Plaintiffs' rights to due process. Attorney Scott-Benevides was present, raising further
ethical concerns:
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   ● Conflict of Interest (ABA Rule 1.7): Mr. Millea allowed Mr. Catalano to participate
     despite a conflict of interest due to the Plaintiff’s lawsuit against him.
   ● Candor Toward the Tribunal (ABA Rule 3.3): Misrepresentations and omissions were
     made to mislead the court.
   ● Misconduct (ABA Rule 8.4): The overall conduct involved dishonesty, fraud, deceit,
     and actions prejudicial to the administration of justice.

       The Plaintiffs' experiences and the documented unethical behavior of the defense counsel
substantiate the need for a protective order. Specific concerns include:

   ● Prejudicial Questioning: Given the retaliatory actions by the Cranston Police
     Department and the ethical violations by the defense counsel, there is a high risk of
     prejudicial and irrelevant questioning during depositions.
   ● Undue Burden: The Plaintiffs have clearly articulated the undue burden and specific
     harm they seek to prevent, satisfying the standard set forth by the First Circuit in
     Anderson v. Cryovac, Inc., 805 F.2d 1, 7-8 (1st Cir. 1986).

        In Anderson v. Cryovac, Inc., the First Circuit emphasized the necessity of showing
specific prejudice or harm to justify a protective order. Plaintiffs have met this standard by
detailing the retaliatory actions and ethical violations they have endured, which compromise the
fairness and integrity of the deposition process.

8. Unique Challenges Faced by Pro Se Litigants

Courts have consistently recognized the need for protective measures to assist pro se litigants. In
McDaniel v. Bradshaw, No. 09-80943-CIV, 2011 U.S. Dist. LEXIS 137485 (S.D. Fla. Nov. 30,
2011), the court provided additional protections to a pro se litigant to ensure fair and just
proceedings. Similarly, in Swinton v. Livingston Cty., N.Y., No. 6:17-cv-06878, 2020 U.S. Dist.
LEXIS 5963 (W.D.N.Y. Jan. 13, 2020), the court acknowledged the need for tailored protective
orders to address the unique challenges faced by pro se litigants, ensuring their ability to
participate meaningfully in the litigation process.

9. Ensuring Fairness and Preventing Abuse

The purpose of the requested protective order is not to obstruct Defendants' right to discovery but
to ensure that the discovery process is fair, non-prejudicial, and free from undue harassment.
Plaintiffs are entitled to protections that allow them to engage in the litigation process without
being subjected to tactics that could cause undue emotional or financial strain.

The Second Circuit in Jones v. Hirschfeld, 219 F.R.D. 71, 74 (S.D.N.Y. 2003), highlighted the
court's duty to ensure that discovery procedures do not become a tool for oppression or abuse,
especially when one party is at a significant disadvantage.
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In light of the foregoing, Plaintiffs respectfully request that this Court grant their Motion for a
Protective Order to ensure a fair, just, and equitable discovery process. The requested protections
are well within the court’s discretion and are necessary to safeguard Plaintiffs’ rights as pro se
litigants.

We respectfully bring to the Court’s attention the aggressive tactics employed by the defendants'
law firm in pushing forward with depositions without awaiting a decision on the motion for a
protective order we submitted. This approach is demonstrative of a disregard for the serious
concerns we have raised, and it is unacceptable. It constitutes bullying behavior.

On June 25, we received an email from the defendants' law firm stating:

"Please take notice that pursuant to Rules 26 and 30 of the Rhode Island Federal Court Rules of
Civil Procedure, the defendants in the above-captioned matter will take the deposition of the
above-named individual on oral examination, which examination will continue from day to day
until completed. This deposition is to commence on the date and at the time above stated at the
DeSisto Law LLC, 60 Ship Street, Providence, RI 02903, before a Notary Public commissioned
in the State of Rhode Island."

Our motion for a protective order has been submitted, and we are awaiting the Court’s decision.
Despite this, the law firm insists on proceeding with depositions, stating they will continue "from
day to day until completed." This stance ignores the valid concerns and supported information
we have provided to the Court.

We are not refusing to comply with the deposition request; rather, we are seeking the Court's
assistance to ensure the process is conducted fairly and ethically. The actions of Attorney
Scott-Benevides and the Cranston Police Department have been inappropriate and unethical,
further justifying our need for protection. The defendants' law firm’s rush to depose us without
considering our pending motion for protection underscores the necessity for the Court's
intervention to prevent further abuse and to ensure a fair and just deposition process.

Conclusion
Plaintiffs have clearly demonstrated the specific harm and undue burden they seek to prevent,
thus satisfying the standard set forth by the First Circuit in Anderson v. Cryovac, Inc. The
retaliatory actions by the Cranston Police Department and ethical breaches by the defense
counsel underscore the urgent need for a protective order.

Despite the fact that we brought forth this lawsuit, it is crucial to note that we would not be in
this position if not for the actions of the School Resource Officers (SROs) who violated
constitutional rights and department policies by using disproportionate excessive use of force and
assaulted a handcuffed prisoner. We are committed to abiding by the rules and procedures of the
courts, clearly they did not follow theirs and it must be recognized that it is their actions that
necessitated this legal action.
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For the reasons stated above, Joshua Mello and Rachel Ware respectfully request that this Court
grant the motion for a protective order, setting appropriate guidelines to ensure a fair, relevant,
and non-prejudicial deposition process, limiting the time of the deposition, have it take place at a
neutral location, and providing a mediator be present.



Respectfully submitted,

Joshua Mello & Rachel Ware
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401.426.0778
06/10/24



Certificate of Service

I hereby certify that a true and correct copy of the foregoing Response to Objection for
Protective Order was mailed and emailed on 06/24/24 to DeSisto Law LLC via mail and email.

Julia K. Scott-Benevides
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Rachel Ware
Pro Se Plaintiff
